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Debra P. Hackett
Clerk, U.S. District Court
15 LEE ST STE 206
MONTGOMERY AL 36104-4055




                                 April 01, 2009

Appeal Number: 08-10305-AA
Case Style: USA v. Bernetta Lashay Willis
District Court Number: 06-0007 1 CR-F-N

TO: Debra P. Hackett

CC: Timothy C. Halstrom

CC: Christopher A. Snyder
CC: Hon. Charles S. Coody

CC: Administrative File
           Case 2:06-cr-00071-MHT-SMD Document 330 Filed 04/01/09 Page 2 of 15

                                United States Court of Appeals
                                               Eleventh Circuit
                                             56 Forsyth Street, NW.
                                             Atlanta, Georgia 30303
Thomas K. Kahn                                                                         For rules and forms visit
    Clerk                                                                              www.calluscourtsgov

                                             April 01, 2009
          Debra P. Hackett
          Clerk, U.S. District Court
          15 LEE ST STE 206
          MONTGOMERY AL 36104-4055

          Appeal Number: 08-10305-AA
          Case Style: USA v. Bemetta Lashay Willis
          District Court Number: 06-00071 CR-F-N


        The enclosed certified copy of the judgment and a copy of this court's opinion are hereby issued
        as the mandate of this court.

        The clerk of the court or agency shown above is requested to acknowledge receipt on
        the copy of this letter enclosed to the clerk.

        A copy of this letter, and the judgment form if noted above, but not a copy of the courf s
        decision, is also being mailed to counsel and pro se parties. A copy of the court's decision
        was previously mailed to counsel and pro se parties on the date it was issued.


                                                Sincerely,

                                                THOMAS K. KAHN, Clerk

                                                Reply To: Will Miller (404) 335-6194


        End.




                                                                                               MDT-1 (06/2006)
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               United States Court of Appeals
                                     For the Eleventh Circuit


                                                                               FILED
                                               No. 08-10305            U.S. COURT OF APPEALS
                                                                         ELEVENTH CIRCUIT
                                         District Court Docket No.               Mar 3, 2009
                                            06-00071-CR-F-N                   THOMAS K. KAHN
                                                                                  CLERK
  UNITED STATES OF AMERICA,

                        Plaintiff-Appellee,
                                                                                  A True Copy Atteatsd
                                                                                               -
  versus                                                                       Olenc U.S Court of Appeá,
                                                                                    Eev lnuI
  BERNETTA LASHAY WILLIS,
  a.k.a. Nettie,
  a.k.a. Hot Girl,                                                                   Depu
  a.k.a. Hottie,
                                                                                    Manta,GØ
  a.k.a. Hi-Girl,
  a.k.a. LaShay,

                        Defendant-Appellant.


                               Appeal from the United States District Court
                                   for the Middle District of Alabama


                                              JUDGMENT

         It is hereby ordered, adjudged, and decreed that the attached opinion included herein by
  reference, is entered as the judgment of this Court.

                                               Entered: March 3, 2009
                                         For the Court: Thomas K. Kahn, Clerk
                                                   By: Clark, Djuanna H.




   APR 0 1 2009
U.S. COURT OF P2PEA4S
           1
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                                                                       [PUBLISH]


              IN THE UNITED STATES COURT OF APPEALS

                     FOR THE ELEVENTH CIRCUYI
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                               No. 08-10305 MARCH                        .   2Uft)
                                                           iFIOMAS K. K\! IN
                                                                C LURK
                    D. C. Docket No. 06-00071-CR-F-N


UNITED STATES OF AMERICA,


                                                               Plaintiff-Appellee,

                                   versus

BERNETTA LASHAY WILLIS,
a.k.a. Nettie,
a.k.a. Hot Girl,
a.k.a. Hottie,
a.k.a. Hi-Girl,
a.k.a. LaShay,

                                                         Defendant-Appellant.




                Appeal from the United States District Court
                    for the Middle District of Alabama


                            (March 3, 2009)

Before EDMONDSON, Chief Judge, TJOFLAT and HILL, Circuit Judges.
    Case 2:06-cr-00071-MHT-SMD Document 330 Filed 04/01/09 Page 5 of 15



PER CLTRIAM:



       Defendant Bernetta Willis ("Defendant") was convicted of theft of

government property and filing false claims for submitting seventeen fraudulent

applications for Federal Emergency Management Agency ("FEMA") aid. She was

also convicted of, among other things, threatening a witness, brandishing a weapon

in the course of a violent crime, and distributing marijuana. After reviewing the

evidence, the district court calculated the applicable sentence enhancements and

sentenced Defendant to forty-three years in prison. She now appeals.

      Because the district court did not clearly err in its calculation of Defendant's

sentence, and because Defendant's ultimate sentence is reasonable, we affirm.



                                  I. BACKGROUND



      A. The Scheme



      In the wake of Hurricane Katrina, FEMA established a system for disbursing

expedited aid to hurricane victims. By applying for aid, victims automatically
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 received an initial $2,000 payment from FEMA.' If victims specifically requested

 assistance for rent or for personal-property damage, they would also automatically

 receive a payment of $2,358. By taking additional affirmative steps, victims could

 obtain up to $26,200 in aid per person.

        Defendant was indicted for a scheme in which she and her co-conspirators

submitted fraudulent applications for FEMA aid. Defendant, a resident of

Montgomery, Alabama         --   an area not affected by Hurricane Katrina and therefore

not eligible for disaster relief    --   submitted the applications herself or submitted

them through other people she directed.2 When another member of the conspiracy,

Valarie Howard ("Howard") was indicted, Howard agreed to testify against

Defendant. Three days later, Defendant, who had learned that Howard might

testify against her, waved a gun in Howard's face and threatened to kill Howard for

testifying.

       Howard reported the incident and federal agents obtained a search warrant

for Defendant's home. There, they discovered paperwork related to the fraudulent

FEMA. applications. They also found two loaded handguns within feet of

marijuana packaged for distribution. A superseding indictment charged Defendant

        'To expedite the process, FEMA did not verify victims' information upon initial
application.

        2When Defendant directed a co-conspirator to apply for funds, she typically demanded a
cut ot and sometimes all of, the money awarded.

                                                  3
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 with fourteen counts of theft of government property; five counts of aggravated

 identity theft; two counts of filing false claims; and one count each for conspiracy,

threatening a witness, using a handgun during a crime of violence, distributing

marijuana, possessing a firearm in relation to drug distribution, and lying to a

federal officer.3

        At trial, seven of Defendant's co-conspirators testified against her and

claimed that she was the mastermind behind the false-claims scheme. The

testimony established that Defendant filed, herself or through others, seventeen

fraudulent FEMA claims.4 After a four-day trial, the jury convicted Defendant on

twenty-two counts, including all of the conspiracy, gun, drug, theft, and false-claim

charges, as well as on one aggravated identity-theft charge.5



        B. Post-Trial and Sentencing



       After trial, but before sentencing, the government offered uncontested



       31n violation oL respectively, 18 U.S.C. § 641; 18 U.S.C. § 1028(a)(1),(2); 18LJ.S.C. §
287; 18 U.S.C. § 371; 18 U.S.C. § 1512 (a)(2)(A); 18 U.S.C. § 924(c)(1)(A)(i), (ii); 21 U.S.C. §
841(a)(1); 18 U.S.C. § 924(c)(1)(A); and 18 u.s.c. § 1001(a)(2).
         4Trial testimony also suggested that Defendant filed multiple and duplicative disaster-
relief claims for Hurricanes Dennis and Ivan, which occurred before Hurricane Katrina.
       5Defendant was acquitted of four other aggravated identity-theft charges.

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 evidence that Defendant had filed three additional fraudulent Katrina claims. After

 reviewing the evidence, Defendant's probation officer prepared a pre-sentence

 investigation report ("PSI") based on Defendant's filing twenty fraudulent claims.

        For sentencing purposes, the PSI required a calculation of the greater of the

actual or intended loss Defendant caused. See U.S.S.G. § 2B1.1(b)(1), n.3(A)

(court should use the "greater of actual loss or intended loss" when calculating

sentence enhancement). Although FEMA suffered actual losses of $79,607.45, the

probation officer calculated intended loss based on the maximum aid available for

each fraudulent claim filed: $26,200. The PSI listed Defendant's intended loss as

$47 1,600,6 resulting in a fourteen-level sentence enhancement.

        At sentencing, the government argued that the district court should adopt the

PSI's recommended sentence enhancement for intended loss because Defendant

consistently demonstrated an intent to obtain the most money FEMA would

provide. Although some of Defendant's applications were not yet pursued beyond

the $4,358 in automatic FEMA funds, the government contended that Defendant

took affirmative steps to obtain a maximum award whenever possible.7 Therefore,


        6The government concedes that this calculation is incorrect. Twenty claims multiplied by
$26,200 equals an intended loss of $524,000. This miscalculation is, however, harmless: both
sums result in a fourteen-level sentence enhancement. See U.S. S .G. § 2B 1.1 (b)( 1 )(H) (fourteen-
level increase for loss greater than $400,000 but less than $1 million).

        7Defendant necessarily took additional and affirmative steps for each application that
yielded more than $4,358.
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the government argued, Defendant should be sentenced based on the maximum

per-application loss instead of on the amount of aid she applied for or received

from each FEMA application.

       To support an intended-loss calculation of $26,200 per application, the

government presented evidence of Defendant repeatedly seeking more than the

$4,358 FEMA automatically disbursed to hurricane victims. For example, on 7

September 2005, Defendant (through Litasha Washington) ("Washington")

requested money for a breathing machine      --   a request beyond the scope of

automatic rental assistance. As part of her conspiracy with Washington, Defendant

submitted phony leases with Louisiana addresses to secure additional rental

assistance. Together, Washington and Defendant sought $18,474.05 from a single

FEMA application: $14,116.05 beyond the emergency funds automatically

disbursed to victims.

      On 11 September 2005, Defendant (through Valarie Howard) sought

$18,620.09 in federal funds: $14,262.09 beyond FEMA's automatic payment.

      Two days later, in a separate request, Defendant personally applied for

another $8,983.88.

      On 10 January 2006, Defendant requested rental assistance beyond FEMA's

automatic aid. Remarkably, on 26 June 2006         --   months after she was first indicted


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 for the false-claims scheme      --   Defendant again took steps to obtain funds for extra

personal-property and rental assistance.

        The government argued that although Defendant collected only $2,000 on

seven of her fraudulent applications, Defendant's acts, when viewed together,

supported a reasonable inference that she intended to obtain more than the $4,358

automatically available for each application.

        Defendant objected to the government's intended-loss calculation. The

district court nevertheless applied the PSI's recommended fourteen-level

enhancement for intended loss. It also adopted the PSI's calculation of Defendant's

offense level as 28, her criminal history as category II, and her guideline range as

87 to 108 months. The court sentenced Defendant to the high end of the guideline

range, 108 months, to be served consecutiveto a 34-year mandatory imprisonment

term,8 for a total sentence of 516 months (43 years). The district court denied

Defendant's Motion for Variance, which was based upon Defendant's claim of

diminished capacity.




        8Three of Defendant's convictions required mandatory minimum sentences totaling
thirty-four years: two years for aggravated identity theft, 18 U.S.C. § 1 028A(a)( 1); seven years
for using a gun during a crime of violence, 18 U.S.C. § 924(c)(1)(A)(ii); and twenty-five years
for possessing a firearm in relation to the distribution of a controlled substance, 18 U.S.C. §
924(c)(l)(C)(i). Each of the three terms must be served consecutive to any other sentence.

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                                  II. STANDARD OF REVIEW




         We review for clear error the district court's calculation of loss for

sentencing purposes. United States v. Nosrati-Shamloo, 255 F.3d 1290, 1291 (11th

Cir. 2001). We review for reasonableness the ultimate sentence a district court

imposes on a defendant. United States v. Williams, 435 F.3d 1350, 1353 (11th Cir.

2006).



                                       III. DISCUSSION




         The central issue in this appeal is whether the district court clearly erred in

its calculation of Defendant's intended loss. Defendant argues that the intended

loss should have been calculated by adding the amount of automatic funds per

application   --   even when that sum was not awarded      --   to the amount of funds

actually requested in excess of automatic disbursements: a total of $1 07,090.02. A

$107,090.02 loss would have resulted in an eight-level, instead of a fourteen-level,

sentence enhancement. U.S.S.G. § 2B1.1(b)(1)(E). The government contends

that evidence offered at trial and during sentencing supported the reasonable


       9At sentencing, Defendant argued that intended loss should have been calculated from the
aggregate amount of aid for which she actually applied: $85,510.02.
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 inference of Defendant's intent to incur the maximum possible loss for each

 application submitted.



        A. The District Court Did Not Clearly Err In Its Calculation
             of Intended Loss




        When calculating loss for sentencing purposes, the district court looks to the

"greater of actual loss or intended loss." U.S.S.G. § 2B1.1(b)(1), n.3(A). Intended

loss is "the pecuniary harm that was intended to result from the offense" and it

"includes intended pecuniary harm that would have been impossible or unlikely to

occur." Ici. at n.3(A)(ii) (emphasis added).'° Because "[a] defendant's intent is

often difficult to prove[,]" it "often must be inferred from circumstantial evidence."

Nosrati-Shamloo, 255 F.3d at 1292.

       Here, the district court was presented with sufficient circumstantial evidence

of Defendant's intent to inflict $26,200, the maximum possible harm, for each

FEMA application she submitted. The record shows that Defendant fraudulently

applied for FEMA funds at least twenty times. For some of the applications,

Defendant had received only the funds automatically disbursed by FEMA. For


      '°For example, intended loss would include the entire value of an insurance-fraud
scheme, even when the claim exceeded the insured value. U.S.S.G. § 2B1.l(b)(l), n.3(A)(ii).


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others, Defendant had taken more steps to obtain additional rental or property-

damage assistance: she submitted phony leases to procure additional rent awards;

she requested money for a breathing machine; she filled out and submitted forms

beyond her requests for automatic disbursements. Even after she was indicted,

Defendant went back to FEMA for more money.

       Because Defendant exhibited a pattern of applying for funds beyond

FEMA's automatic disbursement on some of the applications, it was reasonable for

the district court to infer Defendant's intent to pursue additional money from the

other applications. The district court reasonably inferred that Defendant   --   unless

circumstances limited her   --   eventually intended to pursue maximum

disbursements for each application. Circumstances did limit Defendant; but that

Defendant was caught mid-scheme further supports the inference that absent an

indictment (and in one case, in spite of an indictment), Defendant would have

sought more money from the existing FEMA applications.

      "The sentencing judge is in a unique position to assess the evidence and

estimate the loss, based upon that evidence." U.S.S.G. § 2B1.1(b)(l), n.3(C). As a

result, the sentencing judge's determination of loss is "entitled to appropriate

deference." 1[L Although "courts must not speculate concerning the existence of a

fact which would permit a more severe sentence under the guidelines," United


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States v. Sepulveda, 115 F.3d 882, 890 (11th Cir. 1997) (internal citations

omitted), the district court did not just speculate here. Instead, it looked to specific

circumstantial evidence   --   mainly Defendant's course of conduct   --   to calculate the

loss Defendant intended to cause. Based on the evidence in this record, the district

court did not clearly err by determining an intended loss of $26,200 per

application.



       B. The District Court's Denial of Defendant's Motion For
            Variance Was Reasonable



      Defendant also appeals the district court's denial of her Motion for Variance

from the Sentencing Guidelines. 18 U.S.C. § 3553 (permitting variance

pursuant to sentencing factors). In addition, she argues that her ultimate sentence

was unreasonable.

      Defendant admits that the district court properly considered the 18 U.S.C. §

35 53(a)(1) factors regarding the "nature and circumstances" of her offenses.

Nevertheless, she argues that her sentence was unreasonable because the court did

not consider the "history and characteristics of the defendant": namely,

Defendant's diminished capacity, which she says prevented her from accepting

guidance from her lawyers. 18 U.S.C. § 3553(a)(1).

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       Here, the district court properly calculated Defendant's guideline range: 87

to 108 months. The court then identified Defendant's mandatory minimum

sentences. See 18 U.S.C. § 924(c), 1028A. After considering the section 3553(a)

factors   --   a consideration noted in the record       --   the district court sentenced

Defendant to 108 months, to run consecutive to her mandatory sentences.

       Because the district court sentenced Defendant within a properly calculated

guideline range, its decision is presumptively reasonable. United States v.

Johnson, 485 F.3d 1264, 1272 (11th cir. 2007). In the light of the scope and the

severity of Defendant's many crimes, we cannot say that the district court imposed

an unreasonable sentence.

      Moreover, the district court was reasonable in its denial of Defendant's

Motion for Variance. Defendant's assertion of diminished capacity was contrary to

a forty-five day forensic evaluation conducted at Defendant's request. That report

concluded that Defendant was likely malingering and that she was possibly

"motivated by external incentives such as.         . .   evading criminal prosecution."

Even Defendant's trial counsel acknowledged that Defendant was "entirely capable

of rendering valuable assistance" in formulating her defense. The district court

was reasonable in denying Defendant's motion and in imposing Defendant's

sentence. Accordingly, we affirm the district court's sentence.

      AFFIRMED.



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